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 4
     Attorney for the Plaintiff
 5   Roger Streit
 6

 7

 8

 9
                            IN THE UNITED STATES DISTRICT COURT
10
                                  FOR THE DISTRICT OF OREGON
11
                                          PORTLAND DIVISION
12
     ROGER STREIT,                                 )
13                                                 )
                    Plaintiff,                     )      Civ. No. 3:12-cv-1797-AC
14                                                 )
            v.                                     )      MOTION TO FILE FIRST
15                                                 )      AMENDED COMPLAINT
     MATRIX ABSENCE MANAGEMENT,                    )
16   INC., VIASYSTEMS GROUP, INC. and              )      UNOPPOSED
     RELIANCE STANDARD LIFE                        )
17   INSURANCE COMPANY,                            )
                                                   )
18                  Defendant.                     )
19
20
            Plaintiff, by and through his attorney, Fred C. Nachtigal of Nachtigal, Eisenstein &
21
     Associates, moves the Court, pursuant to F.R.C.P. 7(b), for leave to file a First Amended
22
     Complaint and states as follows:
23
            1.      Pursuant to Local Rule 7-1, several attempts were made by Plaintiff’s Counsel to
24
     confer with Robert Miller, Counsel for the Defendants, Matrix Absence Management, Inc. and
25
     Reliance Standard Life Insurance Company. Although there have been several telephone calls in
26
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 1   both directions, with message left, contact has not been made.

 2              2.         Pursuant to Local Rule 7-1, Plaintiff’s Counsel conferred with Christopher

 3   Swensen, Counsel for Defendant Viasystems Group, Inc. by telephone, on January 3, 2013.

 4              3.         On January 3, 2013, Christopher Swensen advised that he had conferred with

 5   other Defense Counsel and that all Defense Counsel agree to the filing of the First Amended

 6   Complaint with the understanding that Defense Counsel may file follow up Motions against the

 7   First Amended Complaint.

 8              4.         A True Copy of the First Amended Complaint is attached as an Exhibit hereto.

 9              WHEREFORE, Plaintiff requests that the Court enter an Order Allowing the Filing of

10   the First Amended Complaint.

11

12              Dated this 3 day of January, 2013.

13
                                                            NACHTIGAL, EISENSTEIN & ASSOCIATES
14

15
                                                            By: /s/ Fred C. Nachtigal
16                                                               Fred C. Nachtigal, OSB No. 79-3320
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17                                                               Nachtigal, Eisenstein & Associates
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18                                                               Hillsboro, Oregon 97123
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19                                                               FAX: 503-693-1874
20
                                                                   of Attorneys for Plaintiff
21                                                                 ROGER STREIT
22

23   \\acct\files\streit, roger l\v. reliance insurance\pldg\motion to file amended complaint.docx 1/3/2013 9:33:00 AM 1/3/2013 10:18:00 AM

24

25

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                            IN THE UNITED STATES DISTRICT COURT
10
                                  FOR THE DISTRICT OF OREGON
11
                                          PORTLAND DIVISION
12
     ROGER STREIT,                                 )
13                                                 )
                    Plaintiff,                     )        Civ. No. 3:12-cv-1797-AC
14                                                 )
            v.                                     )        FIRST AMENDED COMPLAINT
15                                                 )
     MATRIX ABSENCE MANAGEMENT,                    )
16   INC., VIASYSTEMS GROUP, INC. and              )
     RELIANCE STANDARD LIFE                        )
17   INSURANCE COMPANY,                            )
                                                   )
18                  Defendant.                     )
19
20
            Plaintiff alleges:
21
                                   PRELIMINARY STATEMENT
22
                                                       1.
23
            This is an action for damages and is brought to redress violations of Plaintiff’s Federal
24
     and State rights under the Employee Retirement Income Security Act of 1974 (“ERISA”), 29
25
     U.S.C. § 1001, et seq.
26
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 1                                               JURISDICTION

 2                                                        2.

 3           This Court has jurisdiction over this action, pursuant to 28 U.S.C. §1331.

 4                                                        3.

 5           This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367, with respect to all

 6   causes of action that may be based on Oregon state law because the State claims arise from the

 7   same operative facts as the Federal claims.

 8                                                        4.

 9           Venue is within the District of Oregon pursuant to 28 U.S.C. § 1391(b) because the claim

10   arose in this judicial district and all parties are subject to the jurisdiction of this district.

11                                                   PARTIES

12                                                        5.

13           Plaintiff, Roger Streit, is a resident and citizen of the State of Oregon.

14                                                        6.

15           Plaintiff is a “Beneficiary” as that term is defined in 29 U.S.C. §1002(8).

16                                                        7.

17           Plaintiff is a proper party to bring this action pursuant to 28 U.S.C. § 1132(a)(1).

18                                                        8.

19           Defendant, Matrix Absence Management, Inc. (hereinafter “Matrix”) is an Oregon

20   Foreign Business Corporation, doing business in Oregon.

21                                                        9.

22           Defendant, Viasystems Group, Inc. (hereinafter “Viasystems”) is a Delaware General

23   Corporation, doing business in Oregon.

24                                                       10.

25           Defendant, Reliance Standard Life Insurance Company (hereinafter “Reliance”) is a life

26
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 1   insurance company, providing life insurance benefits, under an employer sponsored plan, to

 2   employees of Viasystems.

 3                                     GENERAL ALLEGATIONS

 4                                                   11.

 5           At all material times, Plaintiff was married to Sandra K. Streit (hereinafter “Sandra”).

 6                                                   12.

 7          At all times material herein, Sandra was employed by Merix Corporation.

 8                                                   13.

 9          During the period of her employment with Merix Corporation, Merix Corporation

10   merged with Viasystems.

11                                                   14.

12          During the period of her employment with Merix Corporation and Viasystems, Sandra

13   was the beneficiary of employer sponsored short term disability insurance, long term disability

14   insurance and life insurance.

15                                                   15.

16          During the period of her employment with Merix Corporation and Viasystems, Sandra

17   was a “Participant” as that term is defined in 29 U.S.C § 1002(7).

18                                                   16.

19          At all times material herein, Matrix was administrator of employee benefits for Reliance

20   and Viasystems.

21                                                   17.

22          The life insurance provided and sponsored by Sandra’s employer, was offered by

23   Reliance.

24                                                   18.

25          During her employment, Sandra suffered a medical disability.

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 1                                                    19.

 2           As a result of that medical disability, Sandra was unable to work.

 3                                                    20.

 4           At the time of her diagnosis, Sandra’s prognosis was terminal, a fact known by Sandra

 5   and Plaintiff.

 6                                                    21.

 7           As a result of her medical disability, Sandra made application through her employer, for

 8   all benefits.

 9                                                    22.

10           One of the disability applications provided to Sandra by her employer, covered short term

11   disability.

12                                                    23.

13           Another of the applications provided to Sandra by her employer, covered both long term

14   disability and life insurance premium waivers.

15                                                    24.

16           Sandra’s applications for short term disability and long term disability, were approved.

17                                                    25.

18           At no time was Sandra advised that the application for life insurance premium waiver,

19   had been disapproved.

20                                                    26.

21           Sandra died on September 7, 2010.

22                                                    27.

23           Upon the death of Sandra, Plaintiff made application for payment of life insurance

24   benefits.

25                                                    28.

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 1           Upon making application for payment of the life insurance benefits, Plaintiff was advised

 2   that Sandra’s application for premium waiver had been denied.

 3                                                    29.

 4           Plaintiff was advised that Sandra had not applied for life insurance premium waiver,

 5   despite the fact that it was included on the long term disability application.

 6                                                    30.

 7           At the time the Plaintiff was advised of the denial of application for life insurance

 8   premium waivers, Plaintiff first became aware that there was any issue with regard to the status

 9   of the life insurance.

10                                                    31.

11           At the time of application for life insurance benefits, Plaintiff was advised that the

12   insurance had lapsed for failure to pay premiums.

13                                                    32.

14           If Sandra or the Plaintiff had been advised that the life insurance premium waiver had

15   been denied, for any reason, they would have been entitled to make premium payments on their

16   own and maintain the insurance.

17                                                    33.

18           Upon becoming aware of the denial of insurance benefits and the alleged failure to

19   request a premium waiver, Plaintiff requested a copy of the Summary Plan Document.

20                                                    34.

21           The Summary Plan Document is required to be delivered to a “Beneficiary” upon request,

22   pursuant to 29 U.S.C. § 1024(b)(4).

23                                                    35.

24           The Summary Plan Document has never been provided.

25                                                    36.

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 1          In failing to provide Plaintiff with a copy of the Summary Plan Document, Defendants

 2   violated the requirements of the 29 U.S.C. §1024(b)(4).

 3                                                   37.

 4          As a result of the denial of Plaintiff’s application for life insurance death payment,

 5   Plaintiff has been injured in the total dollar amount of at least $60,000.00, the value of the life

 6   insurance policy and any additional sum, to be proved at trial.

 7                                                   38.

 8          In failing to respond to Sandra’s application for life insurance premium waiver and in

 9   failing to inform her that she did not qualify for premium waiver, Defendant’s violated their

10   obligations under 29 U.S.C. § 1133.

11                                                   39.

12          Plaintiff is entitled to statutory damages and attorney’s fees under pursuant to 29 U.S.C. §

13   1132(q).

14                                    FIRST CLAIM FOR RELIEF

15         Violation of the Employee Retirement Income Security Act of 1974 (“ERISA”),

16                                         29 U.S.C. §1001 et seq.

17                                                   40.

18          Plaintiff realleges and restates paragraphs 1 – 16, 33 - 36 and 39, above.

19                                                   41.

20          Viasystems and Matrix have violated 29 U.S.C. § 1132 by failing to provide Plaintiff

21   with the Summary Plan Document.

22                                                   42.

23          Under the provisions of 29 U.S.C. §1132(c)(1), Viasystems and Matrix owe Plaintiff

24   damages in the amount of $100.00 per day from the thirtieth day after the request for the

25   Summary Plan Document, until it is provided.

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 1                                  SECOND CLAIM FOR RELIEF

 2         Violation of the Employee Retirement Income Security Act of 1974 (“ERISA”),

 3                                       29 U.S.C. §1001 et seq.

 4                                                  43.

 5          Plaintiff realleges and restates paragraphs 1 – 32 and 37 – 39, above.

 6                                                  44.

 7          The Defendants violated 29 U.S.C. § 1133 by failing to provide Sandra Streit or Plaintiff

 8   of adequate notice of the denial of the life insurance premium waiver.

 9                                                  45.

10          As a result of the Defendants’ actions, Plaintiff has been damaged in the amount of sixty

11   thousand and no/100 ($60,000.00) dollars.

12                                   THIRD CLAIM FOR RELIEF

13                                         Equitable Estoppel

14                                                  46.

15          Plaintiff realleges and restates paragraphs 1 – 32 and 37 – 39, above.

16                                                  47.

17          In providing Sandra with one form on which to make application for Long Term

18   Disability and Life Insurance Premium waivers, Matrix, Viasystems and Reliance represented to

19   Sandra that the document was appropriate for application for those benefits.

20                                                  48.

21          In approving and paying Short Term Disability and Long Term Disability, Matrix,

22   Viasystems and Reliance represented that the application for benefits was sufficient and had

23   been processed.

24                                                  49.

25          The application and subsequent approval, was in writing.

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 1                                                     50.

 2             Sandra and Plaintiff relied on the fact that benefits had been approved under the unified

 3   application and that no benefits (specifically waiver of life insurance premiums) had been

 4   denied.

 5                                                     51.

 6             Based on their reliance, neither Sandra nor Plaintiff paid the life insurance premiums.

 7                                                     52.

 8             Sandra and Plaintiff’s reliance was reasonable.

 9                                                     53.

10             As a result of the Defendants’ actions, Plaintiff has been damaged in the amount of sixty

11   thousand and no/100 ($60,000.00) dollars.

12

13             WHEREFORE, Plaintiff prays for Judgment:

14             1. On his FIRST CLAIM FOR RELIEF against Matrix Absence Management, Inc. and

15                Viasystems, Group Inc.:

16                    a. One hundred dollars ($100.00) per day from thirty days after demand for the

17                        Summary Plan Description until the Summary Plan Description has been

18                        provided;

19                    b. Attorneys Fees and costs.

20             2. On his SECOND CLAIM FOR RELIEF against Matrix Absence Management, Inc.,

21                Viasystems, Group Inc. and Reliance Standard Life Insurance Company:

22                    a. In the amount of sixty thousand dollars ($60,000.00);

23                    b. Attorneys Fees and costs.

24             3. On his THIRD CLAIM FOR RELIEF against Matrix Absence Management, Inc.,

25                Viasystems, Group Inc. and Reliance Standard Life Insurance Company:

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 1                        a. In the amount of sixty thousand dollars ($60,000.00);

 2                        b. Attorneys Fees and costs.

 3

 4             Dated this 3 day of January, 2013.

 5
                                                           NACHTIGAL, EISENSTEIN & ASSOCIATES
 6

 7
                                                           By:
 8                                                                Fred C. Nachtigal, OSB No. 79-3320
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                                                                  of Attorneys for Plaintiff
13                                                                ROGER STREIT
14

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